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                                              United States Bankruptcy Court
                                            Middle District of North Carolina
In re:                                                                                                     Case No. 19-50249-lmj
Carole Lynn Dose’                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0418-6                  User: hamrick                      Page 1 of 1                          Date Rcvd: Mar 22, 2019
                                      Form ID: A309B                     Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 24, 2019.
db             +Carole Lynn Dose’,    354 Briercreek Rd.,    Advance, NC 27006-7153
aty            +Andrew Lawrence Vining,    Shapiro & Ingle, LLP,    10130 Perimeter Parkway,    Ste 400,
                 Charlotte, NC 28216-0034
aty            +Sejal Parmar,    AIS Data Services,    1212 Corporate Drive,   Irving, TX 75038-2502
tr              Daniel C. Bruton,    Bell, Davis & Pitt, P.A.,    600 Century Plaza,    100 North Cherry Street,
                 P. O. Box 21029,    Winston-Salem, NC 27120-1029
785959950      +Capital One Auto Finance,    P.O Box 259407,    Plano, TX 75025-9407
785959955      +Davie County Tax Collector,    123 Main St.,    Mocksville, NC 27028-2437
785959956      +Employment Security Commission,     Attn: Bankruptcy,   P.O. Box 26504,    Raleigh, NC 27611-6504
785959957      +Getaway Resort Management,    P.O. Box 93776,    Las Vegas, NV 89193-3776
785959959      +Mr Cooper,    8950 Cypress Water Blvd.,    Coppell, TX 75019-4620
785959960       NC Department of Revenue,    P.O. Box ll68,    Raleigh, NC 27611

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: bburge@bburgelaw.com Mar 22 2019 18:31:08       D. Barrett Burge,
                 514 South Stratford Road,   Suite 333,     Winston-Salem, NC 27103
ust            +E-mail/Text: bancm_ecf@ncmba.uscourts.gov Mar 22 2019 18:32:02       William P. Miller,
                 Bankruptcy Administrator,   101 South Edgeworth Street,     Greensboro, NC 27401-6024
cr             +EDI: AISACG.COM Mar 22 2019 22:23:00      Capital One Auto Finance, a division of Capital On,
                 4515 N Santa Fe Ave. Dept. APS,    Oklahoma City, OK 73118-7901
cr             +EDI: PRA.COM Mar 22 2019 22:23:00      PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
785959951      +EDI: CAPITALONE.COM Mar 22 2019 22:23:00       Capital One Bank USA N.A,   P.O. Box 30281,
                 Salt Lake City, UT 84130-0281
785959952      +EDI: CHASE.COM Mar 22 2019 22:23:00      Chase Card,    P.O Box 15298,
                 Wilmington, DE 19850-5298
785959953      +EDI: CITICORP.COM Mar 22 2019 22:23:00       Citicards,   P.O. Box 6241,
                 Sioux Falls, SD 57117-6241
785959954      +E-mail/Text: bankruptcy@firstpointcollectionresources.com Mar 22 2019 18:32:29
                 Credit Bureau,   P.O. Box 26140,    Greensboro, NC 27402-6140
785959958       EDI: IRS.COM Mar 22 2019 22:23:00      IRS,    P.O. Box 21126,   Philadelphia, PA 19114
785959961      +EDI: RMSC.COM Mar 22 2019 22:23:00      Synchrony Bank/Discount Tire,    P.O. Box 965001,
                 Orlando, FL 32896-5001
785959962      +EDI: USAA.COM Mar 22 2019 22:23:00      USAA Savngs Bank,    10750 Mcdermott Freeway,
                 San Antonio, TX 78288-1600
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Nationstar Mortgage LLC d/b/a Mr. Cooper
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 24, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 22, 2019 at the address(es) listed below:
              Andrew Lawrence Vining    on behalf of Creditor   Nationstar Mortgage LLC d/b/a Mr. Cooper
               avining@logs.com, avining@logs.com
              D. Barrett Burge    on behalf of Debtor Carole Lynn Dose’ bburge@bburgelaw.com,
               realestate@bburgelaw.com
              Daniel C. Bruton,    dbruton@belldavispitt.com, cpierce@belldavispitt.com;NC58@ecfcbis.com
              Sejal Parmar     on behalf of Creditor   Capital One Auto Finance, a division of Capital One, N.A.,
               c/o AIS Portfolio Services, LP sejal.parmar@americaninfosource.com
              William P. Miller    bancm_ecf@ncmba.uscourts.gov
                                                                                              TOTAL: 5
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Information to identify the case:
Debtor 1              Carole Lynn Dose'                                                Social Security number or ITIN       xxx−xx−8247
                      First Name   Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                               Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                       EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of North Carolina
                                                                                       Date case filed for chapter 7 3/14/19
Case number:          19−50249


AMENDED Official Form 309B (For Individuals or Joint Debtors)
To Correct: spelling of Debtor's first name
                                                                                                                                        12/15
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set
For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                   About Debtor 2:

1.      Debtor's full name                       Carole Lynn Dose'

2.      All other names used in the
        last 8 years

3.     Address                               354 Briercreek Rd.
                                             Advance, NC 27006

4.     Debtor's attorney                     D. Barrett Burge                                      Contact phone (336) 722−7162
                                             514 South Stratford Road
       Name and address                      Suite 333
                                             Winston−Salem, NC 27103

5.     Bankruptcy trustee                    Daniel C. Bruton                                      Contact phone (336) 722−3700
                                             Bell, Davis & Pitt, P.A.
       Name and address                      600 Century Plaza
                                             100 North Cherry Street
                                             P. O. Box 21029
                                             Winston−Salem, NC 27120−1029
                                                                                                             For more information, see page 2 >
AMENDED Official Form 309B (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set         page 1
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Debtor Carole Lynn Dose'                                                                                                               Case number 19−50249
6. Bankruptcy clerk's office                  226 S. Liberty Street                                                    Hours open
     Documents in this case may be            Winston−Salem, NC 27101                                                  Monday−Friday 8:00 AM − 5:00 PM
     filed at this address. You may                                                                                    Date: 3/22/19
     inspect all records filed in this case   Contact phone (336) 397−7785
     at this office or online
     at www.pacer.gov.

7. Meeting of creditors                       April 16, 2019 at 02:00 PM                                               Location:

     Debtors must attend the meeting to       The meeting may be continued or adjourned to a later                     Creditors Meeting Room, First
     be questioned under oath. In a joint     date. If so, the date will be on the court docket.                       Floor, 226 South Liberty Street,
     case, both spouses must attend.
     Creditors may attend, but are not                                                                                 Winston−Salem, NC 27101
     required to do so.

8.                       Presumption of abuse If the presumption of                  The presumption of abuse does not arise.
                         abuse arises, you may have the right to file a motion to
                         dismiss the case under 11 U.S.C. § 707(b). Debtors
                         may rebut the presumption by showing special
                         circumstances.

9. Deadlines                                  File by the deadline to object to discharge or to                         Filing deadline: 6/15/19
                                              challenge whether certain debts are dischargeable:
     The bankruptcy clerk's office must
     receive these documents and any
     required filing fee by the following     You must file a complaint:
     deadlines.
                                              • if you assert that the debtor is not entitled to
                                                receive a discharge of any debts under any of the
                                                subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                              • if you want to have a debt excepted from discharge
                                                under 11 U.S.C § 523(a)(2), (4) or (6).

                                              You must file a motion:
                                              • if you assert that the discharge should be denied
                                                under § 727(a)(8) or (9).

                                              Deadline for all creditors to file a proof of claim                       Filing deadline: ___________
                                              (except governmental units):
                                              Deadline for governmental units to file a proof of                        Filing deadline: 180 days from
                                              claim:                                                                    date of Order for Relief

                                              Deadlines for filing proof of claim:
                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                              not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                              that the debtor filed.
                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                              claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                              example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                              right to a jury trial. Claims can be filed electronically through the court's website at:
                                              http://www.ncmb.uscourts.gov/electronicproofclaimform/
                                              It is recommended that secured claims are filed prior to the date of the creditors meeting.


                                              Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                              The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                              believe that the law does not authorize an exemption claimed, you
                                              may file an objection.

10. Creditors with a foreign                   If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                    asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                               United States bankruptcy law if you have any questions about your rights in this case.
11. Liquidation of the debtor's                The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of                    property that is not exempt. If the trustee can collect enough money, creditors may be paid
    creditors' claims                          some or all of the debts owed to them in the order specified by the Bankruptcy Code. To
                                               ensure you receive any share of that money, you must file a proof of claim as described
                                               above.
12. Exempt property                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                               sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                               may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                               believe that the law does not authorize an exemption that the debtors claim, you may file an
                                               objection. The bankruptcy clerk's office must receive the objection by the deadline to object
                                               to exemptions in line 9.
  NOTICE: STATE OR FEDERALLY ISSUED PHOTO ID IS REQUIRED TO ENTER THE BUILDING. CELL PHONES OR
  WEAPONS ARE NOT ALLOWED. Public parking is not available at Court site. Please visit www.ncmb.uscourts.gov
  under Court Info, for parking information.
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